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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

ZURICH AMERICAN INSURANCE
COMPANY,

                      Plaintiff,

v.                                                           Case No: 6:15-cv-83-Orl-22DAB

SUNSHINE FREIGHT CARRIERS,
INC. and RAQUEL LIZAOLA,

                      Defendants.


                                            ORDER

       This cause is before the Court on Plaintiff's Motion to Dismiss Case as Moot (Doc. No.

39), and on Defendant's Motion for Order Determining Entitlement to Award of Costs and

Attorney's Fees (Doc. No. 40).

       The United States Magistrate Judge has submitted a report recommending that the

Motions be GRANTED, with the Court retaining jurisdiction to determine the amount of

attorney’s fees.

       On January 29, 2016, Plaintiff filed a Notice of Settlement of Attorney’s Fee Claim (Doc.

No. 49) advising that the parties amicably resolved Defendant’s claim for attorney’s fees.

       Therefore, it is ORDERED as follows:

       1.      The Report and Recommendation filed January 20, 2016 (Doc. No. 48), is

ADOPTED and CONFIRMED and made a part of this Order.

       2.      The Plaintiff's Motion to Dismiss Case as Moot (Doc. No. 39), and Defendant's

Motion for Order Determining Entitlement to Award of Costs and Attorney's Fees (Doc. No. 40)

are hereby GRANTED.

       3.      This case is hereby DISMISSED.
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       4.     The Clerk is directed to CLOSE the case.

       DONE and ORDERED in Orlando, Florida on February 1, 2016.




Copies furnished to:

Counsel of Record




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